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13
                         UNITED STATES DISTRICT COURT
14                     SOUTHERN DISTRICT OF CALIFORNIA
15
16   CRYSTAL HILSLEY, on behalf of              )   Case No. 3:18-cv-00395-L-BLM
     herself and all others similarly situated, )
17                                              )   CLASS ACTION
                                Plaintiff,      )
18                                              )
            vs.                                 )   JOINT STATUS REPORT AND
19                                              )   JOINT MOTION TO SET
                                                    FURTHER CASE DEADLINES
20                                              )
     GENERAL MILLS, INC. and                    )
21   GENERAL MILLS SALES, INC.,                 )   Hon. M. James Lorenz
                                                )
22                             Defendants.      )
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23                                              )
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 1         Pursuant to the Court’s Order dated April 8, 2020 (Dkt. No. 36), Plaintiff
 2   Crystal Hilsley (“Plaintiff”) and Defendants General Mills, Inc. and General Mills
 3   Sales, Inc. (“Defendants”) (collectively “the Parties”) respectfully submit this Joint
 4   Status Report and Joint Motion to Set Further Case Deadlines. The Court’s April 8,
 5   2020 Order (Dkt. No. 36) imposed a stay on this action until July 7, 2020 to allow
 6   the Parties to have time to finalize the terms of a class action settlement agreement.
 7         The Parties have been working diligently towards drafting a formal class
 8   action settlement agreement and have now agreed upon all material terms of a
 9   settlement that will be presented to this Court. However, Plaintiff needs additional
10   time to draft a Motion for Preliminary Approval of the Class Action Settlement.
11   Plaintiff also intends to file an amended complaint that will conform with the terms
12   of the class action settlement and that will add additional class representatives.
13   Accordingly, the Parties respectfully request that the Court set the following
14   deadlines in this matter to allow them additional time to finalize their class action
15   settlement:
16    Deadline for Plaintiff to file an August 28, 2020
17    Amended Complaint
18    Deadline for Plaintiff to file a Motion September 4, 2020
19    for Preliminary Approval of Class
20    Action Settlement
21         The Parties respectfully request that the Court stay all other litigation activity
22   while the Parties are finalizing their settlement and related papers.
23
24   Dated: July 10, 2020             Respectfully submitted,
25
26                                    /s/ Ronald A. Marron
                                      RONALD A. MARRON
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28                                   LAW OFFICES OF RONALD A. MARRON
                                     Ronald A. Marron
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14   Dated: July 10, 2020          Respectfully submitted,
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16                                 /s/ Charles Sipos
17                                 CHARLES SIPOS

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 1                  ELECTRONIC SIGNATURE CERTIFICATION
 2         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
 3   Policies and Procedures Manual, I hereby certify that the content of this document
 4   is acceptable to Charles Sipos, counsel for Defendants, and that I have obtained Mr.
 5   Sipos’s authorization to affix his electronic signature to this document. I declare
 6   under penalty of perjury of the laws of the United States that the foregoing is true
 7   and correct.
 8
 9
10   Dated: July 10, 2020                  Respectfully submitted,
11
12                                         /s/ Ronald A. Marron
                                           RONALD A. MARRON
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